Case No. 1:21-cv-03039-DDD-STV Document 26 filed 05/09/22 USDC Colorado pg 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:21-cv-03039-DDD-STV

 KRISTEN AGUIRRE,
            Plaintiff,
 v.
 MULTIMEDIA HOLDINGS CORPORATION d/b/a KUSA-TV; and TEGNA, INC.,
            Defendants.


                          STIPULATION OF DISMISSAL WITH PREJUDICE


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Kristen Aguirre and

  Defendants Multimedia Holdings Corporation d/b/a KUSA-TV and TEGNA, Inc., through their

  respective counsel of record, hereby stipulate and agree that Plaintiff’s Complaint shall be, and

  is, dismissed WITH PREJUDICE, and Plaintiff and Defendants shall bear their own attorneys’

  fees and costs.

   DATED: May 9, 2022

   Respectfully submitted,

   By: /s/ Iris Halpern                             By: /s/ Andrew Scroggins

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